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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov
 IN RE:                                          CASE NO.: 18-14821-LMI

 WILL ZAMORA                                            Chapter 7

         Debtor./
                          MOTION TO DENY DISCHARGE OF
                     DEBTOR UNDER 11 U.S.C. §727(a)(2), (3), (4), AND (6)

        Ross R. Hartog, the chapter 7 trustee (the "Trustee") for the estate of Will Zamora (the

"Debtor"), through undersigned counsel, moves, for the entry of an order denying the Debtor’s

discharge. In support of this motion (the “Motion”), the Trustee states:

        1.      The Debtor filed a skeleton petition under Chapter 7 of Title 11 of the United

States Code on April 25, 2018 (the “Petition Date”).

        2.      Ross R. Hartog is the duly appointed and qualified Trustee in this case.

        3.      The Debtor filed this case as a short form case with no schedules or statement of

financial affairs.

        4.      It appears this case was filed in an effort to stop an eviction and not for a proper

bankruptcy purpose. See ECF Nos. 8, 20, and 35.

        5.      The Section 341 Meeting of Creditors was initially scheduled on November 6,

2018 and has been continued on numerous occasions due to the non-appearance of the Debtor.

The Section 341 Meeting of Creditors is now set to be conducted on February 27, 2019 after the

Debtor failed to appear at the January 31, 2019 meeting of creditors.

        6.      On November 12, 2018, the Trustee filed Trustee’s Motion for Order Compelling

Debtor to Appear at Rescheduled Section 341 Meeting of Creditors and Motion to Compel the
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Debtor to File Schedules and Cure Filing Deficiencies (the “Motion to Compel”) [ECF No. 80]

which was heard by this Court on January 9, 2019. See ECF No. 83.

        7.      On January 15, 2019, this Court entered an order granting the Motion to Compel

(the “Order”) [ECF No. 94] and directed the Debtor to attend the Section 341 Meeting of

Creditors on January 31, 2019 at 11:30 a.m. and to cure the numerous filing deficiencies within

fourteen (14) days of the entry of the Order.

        8.      Moreover, if the Debtor fails to comply, the Order indicates that the Trustee may

file a motion and submit an order to the Court denying or revoking the Debtor’s discharge. See

ECF No. 94.

        9.      As of the filing of this Motion, the Debtor is not in compliance with the Order.

        10.     The Debtor failed to appear at his January 31, 2019 Section 341 Meeting of

Creditors. To date, Debtor has also failed to cure the numerous filing deficiencies.

        11.     The deadline to object to the Debtor’s discharge is March 1, 2019. See ECF No.

99.

        12.     The actions of the Debtor in this case constitute violations of 11 U.S.C. §§

727(a)(2), (3), (4), and (6).

        13.     The actions of the Debtor in failing to file schedules, provide any financial

information to the Trustee or attend his 341 meeting of creditors, constitutes an attempt to

hinder, delay and defraud an officer of the estate by concealing or permitting to be concealed

property of the Debtor within one year before the date of the filing of the petition and/or property

of the estate after the date of the filing of the petition. These actions constitute a violation of 11

U.S.C. §§ 727(a)(2)(A) and (a)(2)(B).

        14.     In addition, the Debtor’s actions as set forth above constitute concealing or failing

to keep and preserve any recorded information, including books, documents, records, papers
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from which the Debtor’s financial condition or business transactions might be ascertained. These

actions constitute a violation of 11 U.S.C. § 727(a)(3).

         15.    The actions of the Debtor as described above further constitute a knowing and

fraudulent withholding from an officer of the estate entitled to possession any recorded

information, including books, documents, records, papers related to Debtor’s property or

financial affairs. These actions constitute a violation of 11 U.S.C. § 727(a)(4).

         16.    The actions of the Debtor as described above also constitute the Debtor’s refusal

to obey the Order, a lawful order of this court. These actions constitute a violation of 11 U.S.C. §

727(a)(6)(A).

         17.    Accordingly, based on the forgoing, the Trustee submits that cause exists to object

to the Debtor’s discharge.

         WHEREFORE, the Trustee respectfully requests entry of an order (a) denying the

Debtor’s discharge pursuant to 11 U.S.C. §§ 727(a)(2), (3), (4), and/or (b) and granting such

other and further relief as the Court deems just and proper.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of foregoing was served on the
Court’s CM/ECF notification to those parties who are registered CM/ECF participants in this
case; via U.S. Mail and Electronic Mail as indicated on the attached Service List on February 25,
2019.
Dated: February 25, 2019              MARKOWITZ, RINGEL, TRUSTY & HARTOG, P.A.
                                      Counsel to Chapter 7 Trustee
                                      9130 S. Dadeland Boulevard Suite 1800
                                      Miami, Florida 33156
                                      Telephone: (305)670-5000
                                      Facsimile: (305)670-5011

                                      By:      /s/ John H. Lee
                                              JOHN H. LEE
                                              Florida Bar No. 91795
780480                                        E-mail: jlee@mrthlaw.com
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                                     In re: Will Zamora
                                   Case No. 18-14821-LMI
                                         Service List


Notice was electronically mailed through the Court’s CM/ECF notification to:


Leslie A Berkoff, Esq on behalf of Creditor Timothy Mosley
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G Steven Fender on behalf of Creditor Timothy Mosley
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Ross R Hartog
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Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Notice will be mailed to:

Will Zamora, Debtor
10395 SW 67th Avenue
Miami, Fl 33156

Will Zamora, Debtor
850 North Miami Avenue, Apt. 1510
Miami, FL 33136-3545

Notice will be electronically mailed to:

Will Zamora, Debtor
wzamora@bsuniverse.com
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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                www.flsb.uscourts.gov
 IN RE:                                        CASE NO.: 18-14821-LMI

 WILL ZAMORA                                          Chapter 7

        Debtor./
                                [PROPOSED]
                ORDER GRANTING MOTION TO DENY DISCHARGE
               OF DEBTOR UNDER 11 U.S.C. §§ 727(a)(2), (3), (4), AND (6)

       THIS MATTER, having come before the Court upon the Trustee’s Motion to Deny

Discharge of Debtor Under 11 U.S.C. §§ 727(a)(2), (3), (4), and (6) (the “Motion”) [ECF No.

xx]. The Court, having reviewed the Motion and the record herein, having noted that the Debtor

failed to cure filing deficiencies pursuant to this Court’s recent Order Granting Trustee’s Motion

for Order Compelling Debtor to Appear at Rescheduled Section 341 Meeting of Creditors and

Motion to Compel the Debtor to File Schedules and Cure Filing Deficiencies (“Order

Compelling Debtor”) [ECF No. 94], finds cause to grant the Motion. Accordingly, it is
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       ORDERED:

       1.      The Motion is GRANTED.

       2.      The Chapter 7 discharge of the Debtor, Will Zamora, is DENIED with regards to

all debts he incurred prior to, and including, April 25, 2018.

                                               ###

Submitted by:
John H. Lee, Esq.
Markowitz, Ringel, Trusty & Hartog, P.A.
Counsel to Chapter 7 Trustee
9130 South Dadeland Boulevard, Suite 1800
Miami, FL 33156
Tel: (305) 670-5000

Copies to:
John H. Lee, Esq.
(Attorney Lee is directed to mail a copy of this Order to all interested parties and to file a
certificate of service).
